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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                            CRIMINAL ACTION NO. 1:08cr130WJG-RHW

EDDIE JAMES PUGH IV (1);
BARRON LECOUR BORDEN (2);


                                             ORDER


       THIS CAUSE comes before the Court on the separate motions filed by Defendants Eddie

James Pugh IV [109] and Barron Lecour Borden [110] for a change of venue pursuant to Federal

Rule of Criminal Procedure 21(a). Defendants each contend that the trial of this matter should be

moved from the Southern Division of Mississippi to the Jackson Division of Mississippi due to

publicity concerning them in connection with their appearance in state court on capital murder

charges. (Ct. R., Doc. 109, p. 2; Doc. 110, p. 2.) Defendants assert that potential jurors would

most likely have read a story reporting this case, and their portrayal in those stories as individuals

with a lengthy criminal history would be extremely prejudicial. (Ct. R., Doc. 109, pp. 2-3; Doc.

110, pp. 2-3.) Because of this prejudice, Defendants maintain that their respective motions for

change of venue should be granted. (Ct. R., Doc. 109, pp. 3-11; Doc. 110, pp. 3-12.) Defendants

argue that media coverage in the Jackson, Mississippi, area was not as extensive as the coverage

which occurred on the Mississippi Gulf Coast. (Ct. R., Doc. 109, p. 12; Doc. 110, pp. 12-13.)

       According to the United States, a change of venue is within the Court’s discretion upon a

strong showing of prejudice to a defendant. (Ct. R., Doc. 118, p. 4.) In this case, Defendants

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seek an intra-district transfer to the Jackson Division of the Southern District of Mississippi. (Ct.

R., Doc. 109, p. 12; Doc. 110, pp. 12-13.) The United States contends that most of the litigants

in this case would find a trial in Gulfport, Mississippi more convenient, and that widespread

publicity alone is no reason to change venue in a case. (Ct. R., Doc. 118, pp. 5, 7.) The United

States contends that voir dire will resolve the issue of any adverse pre-trial publicity that may

have happened in this case. (Id., p. 9.)

       “A defendant is entitled to a fair trial by an impartial jury which will render its verdict

based upon the evidence and arguments presented in court without being influenced by outside,

irrelevant sources.” United States v. Chagra, 669 F.2d 241, 249 (5th Cir. 1982), abrogated in

part on other grounds by Garrett v. United States, 471 U.S. 773 (1985). To satisfy this

constitutional guarantee, jury venire members are not required to be wholly ignorant of the facts

of a case; instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and render

a verdict based upon the evidence presented in court.” Irvin v. Dowd, 366 U.S. 717, 723 (1961).

A court must set the place of trial within the district with due regard for the convenience of the

defendant and the witnesses, and the prompt administration of justice. The court may also

consider pretrial publicity. United States v. Lipscomb, 299 F.3d 303, 340 (5th Cir. 2002). “In

order for a defendant to justify a motion to transfer on the basis of pretrial publicity, he must

establish that prejudicial, inflammatory publicity ‘so saturated the community jury pool as to

render it virtually impossible to obtain an impartial jury.’” United States v. Smith-Bowman, 76

F.3d 634, 637 (5th Cir. 1996).

       Mere exposure to widespread publicity is not a reason to grant a change of venue. Calley

v. Callaway, 519 F.2d 184, 205-06 (5th Cir. 1975) (en banc), cert. denied sub nom. Calley v.


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Hoffman, 425 U.S. 911 (1976). The defendant must make a strong showing of prejudice,

establishing that the publicity was inflammatory and created community prejudice. United States

v. Duncan, 919 F.2d 981, 985 (5th Cir. 1990), cert. denied 500 U.S. 926 (1991).

        Here, Defendants claim that newspaper articles have prejudiced their trial such that a

transfer of the trial to the Jackson Division is necessary. The Court, however, finds that the

articles submitted by Defendants do not demonstrate that the jury pool in the Southern Division

has been saturated with prejudicial, inflammatory publicity. Under Federal Rule of Criminal

Procedure18, the Court must also consider the convenience of the witnesses and the defendants,

along with the prompt administration of justice. The crime scene, the law enforcement agents

who investigated the crime, and several witnesses to the Mississippi portion of this event live in

the Southern Division. Defendants are currently incarcerated in a facility in the Southern

Division. None of the witnesses or defendants are residing in the Jackson Division.

        In addition, transfer of this case to the Jackson Division would delay the start of the trial

in this matter, which goes against the Court’s duty to fix the place of trial so as to comply with

the Speedy Trial Act. Lipscomb, 299 F.3d at 342. As a result, the Court finds that the

convenience of the witnesses and Defendants, and the prompt administration of justice favors the

trial of this matter taking place in the Southern Division, as currently scheduled. The Court,

therefore, concludes that the applicable standards for change of venue for pretrial publicity have

not been met in this case, and finds no reason to change venue. It is therefore,

        ORDERED that Defendant Eddie James Pugh'
                                               s motion for change of venue [110] be, and

is hereby, denied. It is further,




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       ORDERED that Defendant Barron Lecour Borden'
                                                  s motion for change of venue [111] be,

and is hereby, denied.

       SO ORDERED this the 6th day of May, 2009.




                                          UNITED STATES SENIOR DISTRICT JUDGE




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